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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------------- X   Case No.:
  MARQUIS WHO’S WHO VENTURES LLC,                                               23-CV-01043(RPK)(JMW)

                                               Plaintiff,

                             -against-

  REVENUEBOOST LLC,

                                                Defendant.
  --------------- --------------------------------------------------------- X




        MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR A
       TEMPORARY RESTRAINING ORDER AND A PRELIMINARY INJUNCTION




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                                  PRELIMINARY STATEMENT

          Plaintiff Marquis Who’s Who LLC (“Plaintiff’ or “Marquis”) moves this Court for

  emergency injunctive relief to prevent Defendant Revenueboost LLC (“Defendant” or

  “Revboost”) from causing irreparable harm to Marquis’s business through their use and disclosure

  of misappropriated trade secrets, and by sending communications to Plaintiffs customers and

  potential customers infringing on Plaintiffs Marquis Who’s Who trademarks.

                                     STATEMENT OF FACTS

          Plaintiff respectfully refers to the accompanying Affidavit of Kristine McCarthy (the

  “McCarthy Aff.”) for a complete recitation of the facts relevant to Plaintiffs instant motion, which

  are also set forth herein.

          On or about April 18, 2006, Marquis was granted United States Trademark Registration

  Number 3,082,435 for the trademark “Marquis Who’s Who,” in International Class 035, for the

  following goods and services: providing an on-line database featuring biographical directories

  (“Marquis Who’s Who Mark”). See Ex. 1 at p. 1-5. On or about October 3, 1995, Marquis was

  granted United States Trademark Registration Number 1,923,629 for the trademark “Marquis”, in

  International Class 016, for the following goods and services: biographical directories (“Marquis

  Mark”). See id. at p. 6-11. On or about August 20, 1974, Marquis was granted United States

  Trademark Registration Number 991,399 for the trademark “Who’s Who”, in International Class

  016, for the following goods and services: publications in the nature of directories published from

 time to time (“Who’s Who Mark”). See id. at p. 12-22. On or about May 17, 1949, Marquis was

 granted United States Trademark Registration Number 509,921 for the trademark “Who Was Who

 in America”, in International Class 016, for the following goods and services: publication in the

 nature of a directory published from time to time (“Who Was Who Mark”). See id. at p. 23-33.



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  On or about June 11, 1940, Marquis was granted United States Trademark Registration Number

  378,389 for the trademark “Who’s Who in America”, in International Class 016, for the following

  goods and services: publications in the nature of a directory published from time to time (“Who’s

  Who America Mark”) (the Marquis Who’s Who Mark, the Marquis Mark, the Who’s Who Mark,

  the Who Was Who Mark, and the Who’s Who America Mark collectively the “Marquis Who’s

  Who Marks”). See id. at p. 34-42. Plaintiff’s Marquis Who’s Who Marks are currently active, and

  Plaintiff is the owner of the Marquis Who’s Who Marks, which are valid and subsisting United

  States Trademarks.

         Defendant Revboost is engaged in the business of targeted email marketing. In or about

  July 2021, Plaintiff and Defendant Revboost discussed the prospect of entering into a business

  relationship pursuant to which Defendant Revboost was to conduct email marketing on behalf of

  Plaintiff. In furtherance of their discussions, on or about July 22, 2021, Plaintiff and Defendant

  Revboost entered into a Non-Disclosure Agreement (the “Non-Disclosure Agreement”), pursuant

  to which Revboost agreed to protect Plaintiffs confidential information and trade secrets. See'Ex.

  2. Regarding Plaintiffs confidential information and trade secrets, Revboost agreed in the Non-

  Disclosure Agreement that it would use said information “(i) solely for the purpose of evaluating

  the Proposed Transaction, internally, and not for any other purpose whatsoever” that Plaintiffs

  confidential and proprietary information and trade secrets would “(ii) not be copied; (iii) be kept

  in a safe place and the Receiving Party agrees to exercise reasonable precautions to protect such

  Confidential Information (including, without limitation, all precautions the Receiving Party

  employs with respect to its Confidential Information); and (iv) be kept confidential by the

  Receiving Party and the Receiving Party agrees not to divulge any such Confidential Information

  or any information derived therefrom to any Person...”



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          In or around August 2021, Plaintiff hired Defendant Revboost to conduct an email

  marketing campaign on Plaintiffs behalf. Despite the parties’ agreement and the restrictive

  covenants contained therein, Defendant Revboost stole, converted, and misappropriated Plaintiffs

  confidential information, trade secrets, and goodwill for its own personal benefit.

          On or about October 24, 2022, through an internet article published on the website

  Snopes.com, Plaintiff became aware of scam emails being sent to individuals, including Plaintiffs

  customers, using the Marquis Who’s Who Marks (the “Snopes Article”). The Snopes Article

  detailed that the link contained in the emails referenced therein were “confirmed to be a phishing

  URL.”

          The following day, on October 25, 2022, Plaintiff wrote an email to Defendant Revboost

  regarding the Snopes Article with the subject line “Immediate Action NEEDED” and inquiring as

  to the origin of the IP address referenced in the Snopes Article (the “Snopes Email”). See Ex. 3. In

  response to the Snopes Email, Defendant Revboost confirmed the email contained in the Snopes

  Article was “from one of [Revboost’s] email partners” and “rest assured there is no phishing or

  scam emails coming through.” See id. at p. 1. Upon further investigation, Plaintiff ascertained that

  the scam emails being sent to individuals, including Plaintiffs customers, originated from

  Defendant Revboost.

          Plaintiff also learned through its investigation that Defendant Revboost was using

  Plaintiffs email creative template, which included the Marquis Who’s Who Marks, Jn

  unauthorized and unlawful attempts to phish for and mine customer data on behalf of Plaintiff s

  competitors, including but not limited to a website named “Exec Connector”, located at

  Execconnector.com. As a result, on or about October 27, 2022, Plaintiff had a phone call with

  Defendant Revboost in which Plaintiff required that Defendant Revboost comply with certain



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  terms in order for Plaintiffs relationship with Defendant Revboost to continue (the “Terms

  Email”). See Ex. 4. Among other things, the Terms Email required that Defendant “cease and

  desist using any of our creatives, logos or branding on any other client or partner’s campaign”, and

  that Defendant “cease working with all imitators of the Who’s Who concept. Especially, but not

  limited, to Exec Connector.” See id. at p. 1.                                              -.....

         On October 31, 2022, Plaintiff wrote Defendant Revboost an email due to an issue with

  thousands of repeat opt-outs, including customer complaints as a result of the same. Plaintiffs

  record of individual email opt-outs is proprietary and confidential information to Plaintiff as it is

  required for Plaintiff to remain compliant with the law and to ascertain potential customers who

  no longer wish to be contacted via email. Notwithstanding the foregoing, Defendant Revboost

  repeatedly failed to comply with Plaintiffs requirements, including but not limited to: (1) the spam

  email issue, (2) the repeat opt-out issue as detailed hereinabove, and (3) Defendant Revboost’s

  repeated failure to address same and adhere to Plaintiffs ongoing requirements of Defendant

  Revboost set forth in the Term Email. Plaintiffs relationship with Defendant Revboost was

  terminated as of November 8, 2022.

         On January 25, 2023, an individual by the name of Jose Hernandez received an email that

  infringes on Plaintiffs Marquis Who’s Who Marks, and purportedly signed by “John Sartoris”,

  who is an employee of Plaintiff (the “January 25 Spam Email”). See Ex. 5. An individual by the

  name of Geanina Hernandez, forwarded the January 25 Spam Email to Plaintiff to inquire as to

  whether it was spam. See id. at p. 1. Plaintiff did not send the January 25 Spam Email. The January

  25 Spam Email contains the heading “Professional Who’s Who”, which infringes on the Marquis

  Who’s Who Marks (the “Infringing Mark”), and when clicked points to a website that also

  infringes on the Marquis Who’s Who Marks and identifies Defendant Revboost as its source. See



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  id. at p. 1. The January 25 Spam Email also contains language towards the bottom of the email

  identifying Plaintiff and containing a hyperlink that on its face is that of Plaintiff’s but directs to a

  different website’s application page. See id. at p. 3. The Terms and Conditions and Privacy Policy

  Link contained in the January 25 Spam Email also contain links to Plaintiff’s Terms and

  Conditions and Privacy Policy. See id.

          By the foregoing, the January 25 Spam Email makes clear that Defendant Revboost is

  sending emails to Plaintiff’s customers and prospective customers as part of its efforts to mine

  their data to sell to Plaintiff’s competitors. Plaintiff has received many emails similar to the January

  25 Spam Email from its customers notifying Plaintiff of their similar receipt of spam emails sent

  by Defendant Revboost that resemble or are otherwise identical to the January 25 Spam Email.

  Plaintiffs records also reflect that Defendant Revboost has been repeatedly accessing Plaintiffs

  email opt-out information, which contains data on both Plaintiffs customers and the individuals

  who unsubscribed from Plaintiffs emails and is confidential and proprietary to Plaintiff.

         Accordingly, without Plaintiffs authorization, and upon information and belief, beginning

  after Plaintiff acquired protectable exclusive rights in its Marquis Who’s Who Mark, Defendant

  Revboost adopted and began using the Infringing Mark in US commerce. The Infringing Mark

  adopted and used by Defendant is identical and/or confusingly similar to Plaintiffs Marquis Who’s

  Who Marks.

         Although Revboost is aware of the restrictions set forth in the Non-Disclosure Agreement,

  the importance of confidentiality to Revboost, and the fact that the Marquis Who’s Who Marks

  are active United States trademarks, Revboost brazenly chose to ignore their obligations. Given

  the Defendant’s deliberate attempts to disrupt Plaintiffs business, each day that Defendant remains

  unrestrained, the higher the risk to Plaintiff that Defendant will continue to exploit Plaintiffs



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  Marquis Who’s Who Marks and confidential and proprietary information by sending infringing

  communications to Plaintiffs customers and others. Plaintiff has developed its client relationships

  and the value of its Marquis Who’s Who Marks through substantial expense, efforts and resources.

  Unless this Court grants the requested injunctive relief necessary to prevent Defendant from further

  targeting these clients and potential clients using the Infringing Mark and Plaintiffs confidential

  and proprietary information and trade secrets, Marquis will suffer irreparable harm.

                                             ARGUMENT

                                               POINT I

               STANDARD FOR GRANTING A PRELIMINARY INJUNCTION

         It is well settled that to be granted a preliminary injunction, a movant must demonstrate:

  (1) a likelihood of ultimate success on the merits; (2) irreparable injury absent the granting of the

  preliminary injunction; and (3) that a balancing of the equities favors the movant’s position. See

  Citigroup Glob. Markets, Inc. v. VCG Special Opportunities Master Fund Ltd., 598 F.3d 30, 34

  (2d Cir. 2010); Quezada v. BP Products N. Am., Inc., No. 06 CV 5378 SJ, 2006 WL 3837720, at

  *2 (E.D.N.Y. Dec. 1,2006).

         An injunction should be granted when, as here, the Court’s intervention is “essential to

  protect a party’s rights against injuries that would otherwise be irremediable.” Ticor Title Ins. Co.

  v. Cohen, 173 F.3d 63, 68 (2d Cir. 1999). “The basic requirements to obtain injunctive relief have

  always been a showing of irreparable injury and the inadequacy of legal remedies.” Id. at 68;

  Natsource LLC v. Paribello, 151 F. Supp. 2d 465, 469 (S.D.N.Y. 2001) (same); Lumex, Inc. v.

  Highsmith, 919 F. Supp. 624, 627 (E.D.N.Y. 1996) (irreparable harm is perhaps the most important

  requirement with respect to the granting of a preliminary injunction).

         As demonstrated below, Plaintiff has satisfied the requisite standard and is entitled to the

  temporary restraining order and injunctive relief sought herein.

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                                                POINT II

   PLAINTIFF DEMONSTRATES A LIKELIHOOD OF SUCCESS ON THE MERITS OF
                              ITS CLAIMS

         A.      Plaintiff is Likely to Succeed on the Merits of its
                 Federal Trademark Infringement Claim

         Plaintiff is likely to succeed on the merits of its claim that Defendant’s use of the Infringing

  Mark constitutes a trademark infringement violation of Section 32(1) of the Lanham Act, 15

  U.S.C. § 1114(1). “To establish a Lanham Act infringement claim, plaintiff must establish (1) that

  ‘the plaintiffs mark is entitled to protection', and (2) that ‘defendant's use of the mark is likely to

  cause consumers confusion as to the origin or sponsorship of the defendant's goods.’” Guru Teg

  Holding, Inc. v. Maharaja Farmers Mkt., Inc., 581 F. Supp. 3d 460, 468 (E.D.N.Y. 2021), quoting

  Virgin Enterprises Ltd. v. Nawab, 335 F.3d 141, 146 (2d Cir. 2003). “In trademark cases, a

  showing of likelihood of confusion as to source or sponsorship establishes the requisite likelihood

  of success on the merits as well as risk of irreparable harm. To meet this burden, [the plaintiff]

  need[s] only to raise a serious question of likelihood of confusion.” Id., quoting Am. Cyanamid

  Co. v. Campagna Per Le Farmacie in Italia, S.P.A., 847 F.2d 53, 55 (2d Cir. 1988). Here, both

  tests are satisfied, as the Marquis Who’s Who Marks are entitled to protection and Defendant’s

  use of the Infringing Mark has already caused consumer confusion and will continue to cause

  confusion as to the origin of Defendant’s emails to Plaintiffs customers and potential customers.

         First, Plaintiffs Marquis Who’s Who Marks are entitled to protection. They are well-

  known throughout the United States and the earliest of the Marquis Who’s Who Marks were first

  used in United States Commerce on or about June 20, 1899. Specifically, the Marquis Who’s Who

  Mark was first used in commerce in 1954 (Ex. 1 at p. 1), the Marquis Mark on or about June 20,

  1899 (id. at p. 6), the Who’s Who Mark on or about August 31, 1970 (id. at p. 12), the Who Was

  Who Mark on or about February 10, 1943 (id. at p. 23), and the Who’s Who America Mark on or

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   about June 20, 1899 (zd at p. 34). The “Who’s Who” portion of the Marquis Who’s Who Marks

  in particular are distinctive. “Registered marks are presumptively distinctive, although this can be

  overcome by showing that a registered mark is generic or is descriptive without secondary

  meaning.” Juicy Couture, Inc. v. Bella Int'l Ltd., 930 F. Supp. 2d 489, 499 (S.D.N.Y. 2013).

           As to the second factor, in order to establish a likelihood of confusion, Courts in the Second

  Circuit have turned to the eight-factor test set forth in Polaroid Corp. v. Polarad Elecs. Corp.1

  “The eight factors are: (1) strength of the trademark; (2) similarity of the marks; (3) proximity of

  the products and their competitiveness with one another; (4) evidence that the senior user may

  ‘bridge the gap’ by developing a product for sale in the market of the alleged infringer's product;

  (5) evidence of actual consumer confusion; (6) evidence that the imitative mark was adopted in

  bad faith; (7) respective quality of the products; and (8) sophistication of consumers in the relevant

  market” (citation omitted). Starbucks Corp. v. Wolfe's Borough Coffee, Inc., 588 F.3d 97, 115 (2d

  Cir. 2009). “The application of the Polaroid test is not mechanical, but rather, focuses on the

  ultimate question of whether, looking at the products in their totality, consumers are likely to be

  confused” (citation omitted). Id. All of the foregoing factors2 are satisfied here.

           First, Plaintiffs Marquis Who’s Who Marks are strong, the earliest of which was first used

  in commerce in 1899 and the latest in 1970. See Ex. 1 at p. 1, 6, 12, 23, 34. Second, the Infringing

  Mark is nearly identical or otherwise confusingly similar to Plaintiffs Marquis Who’s Who Marks.

  Compare Ex. 1 at p. 5, 11, 21-22, 33, 42 -with Ex. 5. See Exs. 3, 5. Third, Defendant copied

  Plaintiffs email content and format almost identically and is using same for the purpose of

  gathering personal identification information to sell to Plaintiffs competitors. See Exs. 3, 5.




  1 287 F.2d 492 (2d Cir. 1961).
  2 Due to the nature of Plaintiff s business, there is no gap between Plaintiff and Defendant to be bridged, and as such
  the fourth Polaroid factor is inapplicable to the case at bar.

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   Fourth, there is ample evidence of consumer confusion, as evidenced by the Snopes Email3 (Ex.

   3) and January 25 Spam Email (Ex. 5). The Infringing Mark was also adopted in bad faith, as

   Defendants have admitted its use but have continued to use same despite the Non-Disclosure

   Agreement (Ex. 2) and Plaintiffs Terms Email (Ex. 4). The quality of Defendant’s “product” is

   also incomparable to the quality of Plaintiff s products under the Marquis Who’s Who Marks, as

  Plaintiffs business is established in its field and has been for over a century, whereas Defendant

  is sending emails without prior vetting or review to a seemingly random assortment of individuals

  and selling the data to Plaintiffs competitors.

           The final factor, regarding customer sophistication, is “grounded on the belief that

  unsophisticated consumers aggravate the likelihood of confusion.” Juicy Couture, Inc., 930 F.

  Supp. 2d at 502. “In considering the sophistication of consumers, a court must evaluate the general

  impression of the ordinary purchaser, buying under the normally prevalent conditions of the

  market and giving the attention such purchasers usually give in buying that class of goods”

  (internal quotations and citation omitted). Two Hands IP LLC v. Two Hands Am., Inc., 563 F.

  Supp. 3d 290, 308 (S.D.N.Y. 2021) Here, though Plaintiffs customers are renowned, notable

  individuals, some may not have the sophistication to discern the difference between the Infringing

  Mark and Defendant’s accompanying use of Plaintiff s exact copy in their email campaign from

  Plaintiffs legitimate use of the Marquis Who’s Who Marks. This factor weighs in favor of

  Plaintiff.

           For those reasons, Plaintiff is likely to succeed on the merits of its Federal Trademark

  Infringement Claim.




  3 Capitalized terms herein, to the extent not otherwise defined, have the same definitions as set forth in the Complaint.

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          B.     Plaintiff is Likely to Succeed on the Merits of its
                 Unfair Competition Claim

          Plaintiff has also demonstrated a likelihood of success on the merits of its unfair

  competition claim. The elements of an unfair competition claim are that “(1) either actual

  confusion or a likelihood of confusion; and (2) bad faith on the part of the defendant.” Overseas

  Direct Imp. Co. v. Fam. Dollar Stores Inc., 929 F. Supp. 2d 296, 311 (S.D.N.Y. 2013). As set forth

  above, Plaintiff has shown that there is both actual confusion and a likelihood of future confusion

  between Plaintiffs legitimate Marquis Who’s Who Marks and Defendant’s Infringing Mark. See,

  e.g., Ex. 5. Defendant has also acted in bad faith as Defendant’s use of the Infringing Mark

  breaches the Non-Disclosure Agreement between the parties. See Ex. 2. As such, Plaintiff has a

  likelihood of success on the merits on its unfair competition claim.

         C.             Plaintiff is Likely to Succeed on the Merits of its
                 Breach of Contract Claim

         Plaintiff also has demonstrated a likelihood of success on the merits of its breach of contract

  claim. “The elements of a breach of contract claim in New York are: (1) the existence of a contract,

  (2) performance by the party seeking recovery, (3) non-performance by the other party, and (4)

  damages attributable to the breach.” RCN Telecom Servs., Inc. v. 202 Ctr. St. Realty LLC., 156 F.

  App'x 349, 350-51 (2d Cir. 2005). Here, the Non-Disclosure Agreement constitutes a valid and

  binding contract. See Ex. 2. Plaintiff performed pursuant to the Non-Disclosure Agreement by,

  inter alia, providing Defendant with access to its confidential and proprietary information,

  including email opt-out information and customer data, in accordance with same. Defendant then

  breached the Non-Disclosure Agreement by wrongfully utilizing and disseminating Plaintiffs

  confidential and proprietary information to Plaintiffs competitors, and wrongfully infringing on

  Plaintiffs Marquis Who’s Who Marks through Defendant’s use of the Infringing Mark.

  Defendant’s aforementioned acts have damaged and continue to damage Plaintiffs reputation and

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   the value of its Marquis Who’s Who Marks. For those reasons, Plaintiff has a likelihood of success

   on the merits of its breach of contract claim.

          D.      Plaintiff is Likely to Succeed on the Merits of its
                  Breach of the Implied Covenant of Good Faith
                  and Fair Dealing Claim

          Plaintiff also has a likelihood of success on the merits of its breach of the implied covenant

  of good faith and fair dealing claim. “To state a claim for breach of this covenant, a plaintiff must

  plead that (1) the defendant owes the plaintiff a duty to act in good faith and conduct fair dealing;

  (2) the defendant breached that duty; and (3) the breach of duty proximately caused the plaintiffs

  damages.” Great Lakes Reinsurance (UK) SE v. Herzig, 413 F. Supp. 3d 177, 183 (S.D.N.Y.

  2019). Here, Defendant owed Plaintiff a duty to act in good faith and fair dealing with respect to

  the Non-Disclosure Agreement. Defendant breached that duty by using Plaintiffs creative -

  namely, the words and design of its emails to customers and potential customers (see, e.g., Exs. 3,

  5) to mine data that Defendant then sold to Plaintiffs competitors. This breach of the implied

  covenant of good faith of fair dealing by Defendant proximately caused Plaintiffs damages -

  which include to its reputation and the value of its Marquis Who’s Who Marks - that have accrued

  and will continue to accrue absent the imposition of the preliminary injunctive relief Plaintiff seeks

  herein. Accordingly, Plaintiff has a likelihood of success on the merits of its breach of the implied

  covenant of good faith and fair dealing claim.

          E.      Plaintiff is Likely to Succeed on the Merits of its
                  Defend Trade Secrets Act Claim

          Plaintiff is likely to succeed on the merits of its claim that Defendant’s improper use of

  Plaintiffs proprietary and confidential list of customer email opt-out information, in violation of

  the Non-Disclosure Agreement, constitutes a violation of the Defend Trade Secrets Act (“DTSA”).

  “To state a claim for trade secret misappropriation under the DTSA, a plaintiff must plausibly


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  allege that (1) it possessed a trade secret, and (2) the defendant misappropriated the trade secret.”

  ExpertConnect, L.L.C, v. Fowler, No. 18 CIV. 4828 (LGS), 2019 WL 3004161, at *3 (S.D.N.Y.

  July 10, 2019); see also 18 U.S.C. § 1836(b)(1); Intertek Testing Servs., N.A., Inc. v. Pennisi, 2020

  WL 1129773 at *340 (E.D.N.Y. Mar. 9, 2020) (“[t]o succeed on a claim misappropriation of a

  trade secret under the DTSA, a plaintiff must show that the trade secret was: (A) acquired by a

  person who knows or has reason to know that the trade secret was acquired by improper means;

  or (B) disclosed by another without express or implied consent.”).

          1. Plaintiffs Customer List Constitutes a Trade Secret

         It is well settled that customer lists constitute a trade secret under the DTSA. See

  ExpertConnect, L.L.C, v. Fowler (finding that “client lists and client preferences, contract details,

  expert lists and performance criteria” were trade secrets under the DTSA); see also Intertek Testing

  Servs., N.A., Inc. v. Pennisi, 2020 WL 1129773 at *340 (“Indeed, in enacting the DTSA, Congress

  specifically indicated that ‘[ejxamples of trade secrets include confidential formulas,

  manufacturing techniques, and customer lists.’” citing H.R. Rep. No. 114-529, at 197 [2016]); N.

  Atl. Instruments, Inc. v. Haber, 188 F.3d 38, 44 (2d Cir. 1999).

         Here, Defendant was on notice, by virtue of the Non-Disclosure Agreement, that Plaintiff

  considered its proprietary list of customer email opt-out information to be a confidential matter,

  not to be disclosed. Plaintiff invested significant time and money into developing a market for its

  product and a list of customers, of which an essential part is the proprietary and confidential list

  of customer email opt-out information. Furthermore, PlaintifFs customers and potential

  customers, being renowned and accomplished individuals, have an expectation of discretion and

  confidentiality of their personal contact information.




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          Plaintiff has also taken clear steps to safeguard the proprietary and confidential list of

  customer email opt-out information, in keeping with the requirements of the DTSA. See 18 U.S.C.

  § 1839(3); ExpertConnect, L.L.C, v. Fowler at *1, (agreements stating that employees shall make

  use of confidential information only “for the purpose of performing his/her duties as an employee,

  the use of “password protected entry points,” and an employee handbook prohibiting employees

  from “[m]isus[ing]...client lists, expert lists, records, or confidential information of any kind”

  served as reasonable steps to protect trade secrets); see also Syntel Sterling Best Shores Mauritius

  Ltd. v. Trizetto Grp.^So. 15 Civ. 211,2016 WL 5338550, at *6 (S.D.N.Y. Sept. 23, 2016) (making

  users of trade secrets subject to confidentiality provisions and limitations, and making same

  accessible only through strictly controlled servers constituted reasonable steps to protect trade

  secrets). Here, Plaintiff required Defendant to sign the Non-Disclosure Agreement which

  specifically forbade the disclosure of the proprietary and confidential list of customer email opt­

  out information. See Ex. 2. In fact, Plaintiff requires all vendors with whom it does business to

  sign a non-disclosure agreement and have individual passwords to access same. McCarthy Aff. at

  If 35. Plaintiff also requires that its employees sign a confidentiality agreement upon hire and

  restricts access to Plaintiff’s trade secrets to certain employees, each of which has their own login

  and password to access same and has set up a strict password and internet usage protocol to protect

  its trade secrets, including the proprietary and confidential list of customer email opt-out

  information. Id. at ^f 36.

          Courts will consider documents to be trade secrets where the value of a company or brand

  lies within their secrecy or confidentiality. See ExpertConnect, L.L.C, v. Fowler at *5 (“As

  ExpertConnect's brand value depends on maintaining their clients' and experts' confidences, its

  reputation is harmed when the trade secrets are divulged. These allegations sufficiently plead that



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   ExpertConnect's trade secrets are valuable in part because they are secret.”); see also Medidata

  Sols. v. Veeva Sys., No. 17 Civ. 589, 2018 WL 6173349, at * 4 (S.D.N.Y. Nov. 26, 2018) (“The

  Complaint plausibly alleges that the trade secrets derive independent economic value from being

  kept secret. The Complaint alleges that Medidata spent a great deal of time and money, $500

  million, developing its technology, that Medidata went to great lengths to protect its confidential

  business information and that Medidata became an industry leader managing the clinical trials of

  9 of the 10 top-selling pharmaceutical products in 2015.”); see also Gen. Sec., Inc. v. Commercial

  Fire & Sec., Inc.,No. 17 Civ. 1194,2018 WL 3118274, at *2 (E.D.N.Y. June 25,2018) (“Plaintiffs

  customer records, which include contact information, sales history and pricing information, are

  confidential and not available to the public. Plaintiff maintains customer information on a secure

  computer accessible only to employees, who are required to use a username and password to access

  the information.”) Here, it is precisely the confidential and discrete nature of the proprietary and

  confidential list of customer email opt-out information that gives it its value, both to Plaintiff and

  to its current and prospective customers.

          F.      Plaintiff is Likely to Succeed on the Merits of its
                  Misappropriation of Trade Secrets Claim

          As acknowledged in the Non-Disclosure Agreement signed by Defendant, Revboost was

  given access to Plaintiffs confidential information and that Revboost was not to disclose it or

  utilize it improperly.

          By using Plaintiffs trade secrets to ascertain a list of customers that have previously opted

  out of communications from Plaintiff, which include Plaintiffs customers, and then using that data

  to mine customer information from Plaintiffs customers and prospective customers and sell same

  to Plaintiffs competitors, Defendant has plainly used Plaintiffs confidential information/trade

  secrets in breach of Defednant’s duty not to disclose same.


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            Generally, to prevail on a claim for misappropriation of trade secrets, New York law

  requires that a plaintiff demonstrate that it possessed a trade secret, and that the defendant used the

  trade secret in breach of an agreement and a confidential relationship or duty, or as a result of

  discovery by wrongful means. Hudson Hotels Corp. v. Choice Hotels Int’l., 995 F.2d 1173, 1176

  (2d Cir. 1993). By definition, a trade secret is any “formula, pattern, device or compilation of

  information used in one’s business which confers a competitive advantage over those in similar

  businesses who do not know of or use it.” U.S. Reins, Corp. v. Humphreys, 205 A.D.2d 187, 191,

  618 N.Y.S.2d 270, 273 (1st Dep’t 1994) (citing Restatement of Torts, Section 757, Comment b).

            Among the factors to be considered in determining whether there is a genuine trade secret

  is the amount of effort expended in developing the secret matter, the extent of measures taken to

  safeguard the secret, the extent to which the information is known outside the business and the

  possible value of the information to competitors. U.S. Reins, 205 A.D.2d at 191-92, 618 N.Y.S.2d

  at 273.

            In addition, a confidential list of clients or customers may be a trade secret; if so, the use

  or disclosure of it by an employee or outside vendor, such as Defendant Revboost, will be enjoined.

  North Atlantic Instruments v. Haber, 188 F.3d 38 (2d Cir. 1999). In North Atlantic, the Second

  Circuit strongly reaffirmed this proposition - the Court affirmed a preliminary injunction barring

  a former executive from making use - even through causal memory - of a list of specific client

  contacts that had been compiled by and for the benefit of the former employer.               Contempo

  Communications, Inc. v. MJMCreative Services, Inc., 182 A.D.2d 351, 352-54, 582N.Y.S.2d 667,

  668-69 (1st Dep’t 1992); Support Sus. Assocs. v. Tavolacci, 135 A.D.2d 704, 705, 522 N.Y.S.2d

  604, 605-06 (2d Dep’t 1987) (injunction issued based on employee’s knowledge of confidential

  pricing and cost information “because if it were known to competitors, they would be in a position



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  to underbid the plaintiff and consequently to win contracts that the plaintiff was bidding for.”).

  Similarly, in Webcraft Techs., Inc. v. McCaw, 674 F.Supp. 1039 (S.D.N.Y. 1987), the court held

  that even though the identity of plaintiffs customers was “self-evident,” a list of such customers

  was a protectable trade secret because of the “enormous time and effort to develop, including the

  development of specialized knowledge of the customer’s operations and needs”; and the “long,

  difficult process [it took] to educate and convert a prospective customer to the benefits of

  [plaintiffs] process.” Id. at 1045. The court also held that the identity of client contacts and

  customer preference and pricing information were all protectable trade secrets. Id. Thus, the court

  enjoined the defendant from soliciting or contacting any customer or potential customer about

  whom she had acquired information while in plaintiffs employ. Id. at 1048.

         As set forth herein and in the concurrently submitted Complaint and McCarthy Affidavit,

  Plaintiff has spent a significant amount of time and expense in developing trade

  secrets/confidential material such as its proprietary and confidential list of customer email opt-out

  information. Also, as borne out, supra, Defendant has clearly unlawfully availed itself of and

  unlawfully utilized said trade secrets/confidential information.

         By virtue of the foregoing, Plaintiff is likely to succeed on its misappropriation of trade

  secrets claim.                                                                                 "    '

         G.        Plaintiff is Likely to Succeed on the Merits of its
                   Conversion Claim

         Plaintiff also has a likelihood of success on the merits of its conversion claim, the elements

  of which are “(1) the property subject to conversion is a specific identifiable thing; (2) plaintiff

  had ownership, possession or control over the property before its conversion; and (3) defendant

  exercised an unauthorized dominion over the thing in question, to the alteration of its condition or

  to the exclusion of the plaintiffs rights.” Kirschner v. Bennett, 648 F. Supp. 2d 525, 540 (S.D.N.Y.


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  2009) . Here, Defendant has converted Plaintiffs Marquis Who’s Who Marks through its use of

  the Infringing Mark. Defendant has also exercised unauthorized dominion over: (1) Plaintiffs

  proprietary and confidential information and trade secrets including email opt-out information and

  customer data, and (2) the words and design of Plaintiffs emails to customers and potential

  customers. Defendant’s use of Plaintiff s aforementioned specifically identified property is to the

  exclusion of Plaintiffs exclusive rights to the use of same. Therefore, Plaintiff has shown a

  likelihood of success on the merits of its conversion claim.

         H.            Plaintiff is Likely to Succeed on the Merits of its
                 Unjust Enrichment Claim

         Plaintiff has a likelihood of success on the merits of its unjust enrichment claim. “The basic

  elements of an unjust enrichment claim in New York require proof that (1) defendant was enriched,

  (2) at plaintiffs expense, and (3) equity and good conscience militate against permitting defendant

  to retain what plaintiff is seeking to recover.” Briarpatch Ltd., L.P v. Phoenix Pictures, Inc., 313

  F.3d 296, 306 (2d Cir. 2004). Here, Defendant has been enriched at Plaintiffs expense by its

  unlawful infringement on Plaintiffs Marquis Who’s Who Marks by its use of the Infringing Mark,

  in addition to Defendant’s unauthorized use of and profiting from: (1) Plaintiffs confidential

  information and trade secrets including email opt-out information and customer data, and (2) the

  words and design of Plaintiff s emails to customers and potential customers. It is against equity

  and good conscience to permit Defendant to retain the benefits of the foregoing without

  compensation to Plaintiff for the damages Defendant caused to Plaintiff thereby. As such, Plaintiff

  has a likelihood of success on the merits of its unjust enrichment claim.

         I.      Plaintiff is Likely to Succeed on the Merits of its
                 Claim for Restraints and Injunctive Relief

         For all of the reasons discussed herein with respect to why Plaintiff is entitled to temporary

  injunctive relief including a preliminary injunction, Plaintiff is entitled to permanent injunctive

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  relief and restraints as requested in its Ninth Cause of Action. As such, Plaintiff is likely to succeed

  on its Ninth and final Cause of Action.

                               POINT III
                        PLAINTIFF WILL SUFFER
   IRREPARABLE HARM IF THIS COURT DOES NOT GRANT INJUNCTIVE RELIEF

         It is well settled that irreparable harm is presumed where, as here, a trade secret has been

  misappropriated. See FMC Corp. v. Taiwan Tainan Giant Indus. Co., Ltd., 730 F.2d 61, 63 (2d

  Cir. 1984); Lumex, Inc. v. Highsmith, 919 F. Supp. 624, 628 (E.D.N.Y. 1996) (it is “clear” that

  “irreparable injury is presumed where a trade secret has been misappropriated”). “A trade secret

  once lost is, of course, lost forever.” FMC Corp., 730 F.2d at 63. Accordingly, the unique nature

  of trade secrets warrants their protection through the liberal use of injunctive relief. See Flexible

  Technologies., Inc. v. World Tubing Corp., 910 F.Supp. 109, 114 (E.D.N.Y. 1996) (loss of trade

  secrets constitutes irreparable harm because money damages do not compensate for such loss).

          Plaintiffs have also established Defendant’s unlawful use of the Infringing Mark and

  customer confusion resulting from the same that is demonstrated by the January 25 Spam Email.

  “[W]hen in the licensing context unlawful use and consumer confusion have been demonstrated,

  a finding of irreparable harm is automatic.” Sunward Elecs., Inc. v. McDonald, 362 F.3d 17, 25

  (2d Cir. 2004).

         Here, if Defendant is not enjoined from its misconduct, Plaintiff is likely to suffer

  irreparable harm from the misappropriation and use of its trade secrets and confidential

  information, Defendant’s use of the Infringing Mark, and the accompanying loss of goodwill with

  Plaintiffs customers and potential customers.




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                                               POINT IV

                          THE BALANCING OF THE EQUITIES TILTS
                             HEAVILY IN PLAINTIFF’S FAVOR

          The harm faced by Plaintiff clearly outweighs any harm that Defendant could claim that it

  would suffer. The injunction sought here would not prevent Defendant from operating, but simply

  from utilizing Plaintiffs Marquis Who’s Who Marks and trade secrets and confidential

  information - which Defendant never had a right to do. In contrast, the injunction Plaintiff seeks

  herein, if not imposed, would continue to cause irreparable, immeasurable harm to Plaintiffs

  Marquis Who’s Who Marks and generally to Plaintiffs brand, which Plaintiff has developed over

  the past century and at significant expense and effort. As such, the balancing of the equities weighs

  heavily in favor of granting the injunctive relief Plaintiff seeks herein.                     ' ~-

                                            CONCLUSION

         For the above reasons, Marquis Who’s Who LLC respectfully requests that its application

  for a temporary restraining order and a preliminary injunction be granted in its entirety, and that

  Marquis Who’s Who LLC be granted such other and further relief as the Court deems just, proper,

  and equitable.

  Dated: East Meadow, New York
         February 9, 2023
                                                 Certilman Balin Adler & Hyman, LLP




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